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                              No. 21-cv-01636-LPS

               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE
                  ____________________________________
                 In re MALLINCKRODT, PLC, et al., Debtors.*
                   ____________________________________
                   SANOFI-AVENTIS U.S. LLC, Appellant,
                                        v.
                   MALLINCKRODT, PLC, et al., Appellees.
                  ____________________________________
              On Appeal from the United States Bankruptcy Court
               for____________________________________
                   the District of Delaware, No. 20-12522 (JTD)

                    BRIEF OF DEBTORS-APPELLEES
                  ____________________________________

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*
  A complete list of the Debtors in these Chapter 11 cases may be obtained on the
website      of     the    Debtors’     claims    and     noticing    agent    at
http://restructuring.primeclerk.com/Mallinckrodt. The Debtors’ mailing address is
675 McDonnell Blvd., Hazelwood, Missouri 63042.
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                 CORPORATE DISCLOSURE STATEMENT

      Mallinckrodt plc and its affiliates that are Debtors and Debtors-in-possession

in the above-captioned chapter 11 proceedings (collectively, “Debtors”), by and

through undersigned counsel, respectfully represent:

      1.     Debtor-Appellee Mallinckrodt plc, chartered in Ireland, has no parent

company, and no publicly held company owns 10% or more of Mallinckrodt plc.

Mallinckrodt plc is publicly traded.

      2.     Debtor-Appellee Acthar IP Unlimited Company, chartered in Ireland,

is a wholly-owned subsidiary of Debtor Mallinckrodt Pharma IP Unlimited

Company.

      3.     Debtor-Appellee IMC Exploration Company, chartered in Maryland, is

a wholly-owned subsidiary of Debtor ST US Holdings LLC.

      4.     Debtor-Appellee Infacare Pharmaceutical Corporation, chartered in

Delaware, is a wholly-owned subsidiary of Debtor Therakos, Inc.

      5.     Debtor-Appellee INO Therapeutics LLC, chartered in Delaware, is a

wholly-owned subsidiary of Debtor Therakos, Inc.

      6.     Debtor-Appellee Ludlow LLC, chartered in Massachusetts, is a wholly-

owned subsidiary of Debtor MNK 2011 LLC.

      7.     Debtor-Appellee MAK LLC, chartered in Delaware, is a wholly-owned

subsidiary of Debtor MEH, Inc.
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      8.      Debtor-Appellee Mallinckrodt APAP LLC, chartered in Delaware, is a

wholly-owned subsidiary of Debtor SpecGx LLC.

      9.      Debtor-Appellee Mallinckrodt ARD Finance LLC, chartered in

Delaware, is a wholly-owned subsidiary of Debtor Mallinckrodt Enterprises

Holdings, Inc.

      10.     Debtor-Appellee Mallinckrodt ARD Holdings Inc., chartered in

Delaware, is a wholly-owned subsidiary of Debtor Therakos, Inc.

      11.     Debtor-Appellee Mallinckrodt ARD Holdings Limited, chartered in the

United Kingdom, is a wholly-owned subsidiary of Debtor Mallinckrodt International

Finance SA.

      12.     Debtor-Appellee Mallinckrodt ARD IP Unlimited Company, chartered

in Ireland, is a wholly-owned subsidiary of Debtor Acthar IP Unlimited Co.

      13.     Debtor-Appellee Mallinckrodt ARD LLC, chartered in California, is a

wholly-owned subsidiary of Debtor Mallinckrodt ARD Holdings, Inc.

      14.     Debtor-Appellee Mallinckrodt Brand Pharmaceuticals LLC, chartered

in Delaware, is a wholly-owned subsidiary of Debtor ST US Holdings LLC.

      15.     Debtor-Appellee Mallinckrodt Buckingham Unlimited Company is

chartered in Ireland. Half of Mallinckrodt Buckingham Unlimited Company is

owned by Debtor Mallinckrodt Pharmaceuticals Limited, and the other half is owned

by Debtor Mallinckrodt International Finance SA.


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       16.   Debtor-Appellee Mallinckrodt Canada ULC, chartered in Canada, is a

wholly-owned subsidiary of non-Debtor Mallinckrodt Canada Cooperatie U.A.

       17.   Debtor-Appellee Mallinckrodt CB LLC, chartered in Delaware, is a

wholly-owned subsidiary of Debtor Mallinckrodt International Finance SA.

       18.   Debtor-Appellee Mallinckrodt Critical Care Finance LLC, chartered in

Delaware, is a wholly-owned subsidiary of Debtor Mallinckrodt ARD Holdings Inc.

       19.   Debtor-Appellee Mallinckrodt Enterprises Holdings, Inc. is chartered

in California. Half of Mallinckrodt Enterprises Holdings, Inc., is owned by Debtor

Petten Holdings Inc., and the other half is owned by Debtor MEH, Inc.

       20.   Debtor-Appellee Mallinckrodt Enterprises LLC is chartered in

Delaware. Half of Mallinckrodt Enterprises LLC is owned by Debtor WebsterGx

Holdco LLC, and the other half is owned by Debtor Mallinckrodt ARD Finance

LLC.

       21.   Debtor-Appellee Mallinckrodt Enterprises UK Limited, chartered is the

United Kingdom, is a wholly-owned subsidiary of Debtor MUSHI UK Holdings

Limited.

       22.   Debtor-Appellee Mallinckrodt Equinox Finance LLC, chartered in

Delaware, is a wholly-owned subsidiary of Debtor Petten Holdings Inc.




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      23.     Debtor-Appellee    Mallinckrodt    Group      S.à   r.l.,   chartered   in

Luxembourg, is a wholly-owned subsidiary of Debtor Mallinckrodt International

Finance SA.

      24.     Debtor-Appellee    Mallinckrodt    Holdings     GmbH,       chartered   in

Switzerland, is a wholly-owned subsidiary of Debtor Mallinckrodt International

Finance SA.

      25.     Debtor-Appellee Mallinckrodt Hospital Products Inc., chartered in

Delaware, is a wholly-owned subsidiary of Debtor MCCH LLC.

      26.     Debtor-Appellee Mallinckrodt Hospital Products IP Unlimited

Company, chartered in Ireland, is a wholly-owned subsidiary of Debtor Mallinckrodt

IP Unlimited Company.

      27.     Debtor-Appellee Mallinckrodt International Finance SA, chartered in

Luxembourg, is a wholly-owned subsidiary of Debtor Mallinckrodt plc.

      28.     Debtor-Appellee Mallinckrodt International Holdings S.à r.l., chartered

in Luxembourg, is a wholly-owned subsidiary of Debtor Mallinckrodt International

Finance SA.

      29.     Debtor-Appellee Mallinckrodt IP Unlimited Company, chartered in

Ireland, is a wholly-owned subsidiary of Debtor Mallinckrodt Pharma IP Trading

Unlimited Company.




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       30.    Debtor-Appellee Mallinckrodt LLC, chartered in Delaware, is a

wholly-owned subsidiary of Debtor Mallinckrodt Enterprises LLC.

       31.    Debtor-Appellee Mallinckrodt Lux IP S.à r.l., chartered in

Luxembourg, is a wholly-owned subsidiary of Debtor Mallinckrodt International

Finance SA.

       32.    Debtor-Appellee Mallinckrodt Manufacturing LLC, chartered in

Delaware, is a wholly-owned subsidiary of Debtor Mallinckrodt Hospital Products

Inc.

       33.    Debtor-Appellee     Mallinckrodt   Pharma   IP    Trading    Unlimited

Company, chartered in Ireland, is a wholly-owned subsidiary of Debtor Mallinckrodt

International Finance SA.

       34.    Debtor-Appellee Mallinckrodt Pharmaceuticals Ireland Limited,

chartered in Ireland, is a wholly-owned subsidiary of Debtor Mallinckrodt

International Finance SA.

       35.    Debtor-Appellee Mallinckrodt Pharmaceuticals Limited, chartered in

the United Kingdom, is a wholly-owned subsidiary of Debtor Mallinckrodt

International Holdings S.à r.l.

       36.    Debtor-Appellee     Mallinckrodt   Quincy   S.à   r.l.,   chartered   in

Luxembourg, is a wholly-owned subsidiary of Debtor Mallinckrodt Buckingham

Unlimited Company.


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      37.    Debtor-Appellee Mallinckrodt UK Finance LLP is chartered in the

United Kingdom. Half of Mallinckrodt UK Finance LLP is owned by Debtor

Mallinckrodt Pharmaceuticals Limited, and half is owned by Debtor Mallinckrodt

International Finance SA.

      38.    Debtor-Appellee Mallinckrodt UK Ltd, chartered in the United

Kingdom, is a wholly-owned subsidiary of Debtor Mallinckrodt plc.

      39.    Debtor-Appellee Mallinckrodt US Holdings LLC, chartered in

Delaware, is a wholly-owned subsidiary of Debtor ST US Holdings LLC.

      40.    Debtor-Appellee Mallinckrodt US Pool LLC, chartered in Nevada, is a

wholly-owned subsidiary of Debtor Petten Holdings Inc.

      41.    Debtor-Appellee Mallinckrodt Veterinary, Inc., chartered in Delaware,

is a wholly-owned subsidiary of Debtor ST US Holdings LLC.

      42.    Debtor-Appellee Mallinckrodt Windsor Ireland Finance Unlimited

Company, chartered in Ireland, is a wholly-owned subsidiary of Debtor Mallinckrodt

Windsor S.à r.l.

      43.    Debtor-Appellee Mallinckrodt Windsor S.à r.l., chartered in

Luxembourg, is a wholly-owned subsidiary of Debtor Mallinckrodt Quincy S.à r.l.

      44.    Debtor-Appellee MCCH LLC, chartered in Delaware, is a wholly-

owned subsidiary of Debtor MCCH LLC.




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      45.   Debtor-Appellee MEH, Inc., chartered in Nevada, is a wholly-owned

subsidiary of Debtor Mallinckrodt International Finance SA.

      46.   Debtor-Appellee MHP Finance LLC, chartered in Delaware, is a

wholly-owned subsidiary of Debtor Mallinckrodt ARD Holdings Inc.

      47.   Debtor-Appellee MKG Medical UK Ltd, chartered in the United

Kingdom, is a wholly-owned subsidiary of Debtor Mallinckrodt Windsor S.à r.l.

      48.   Debtor-Appellee MNK 2011 LLC, chartered in Delaware, is a wholly-

owned subsidiary of Debtor Mallinckrodt Brand Pharmaceuticals LLC.

      49.   Debtor-Appellee MUSHI UK Holdings Limited, chartered in the

United Kingdom, is a wholly-owned subsidiary of Debtor Mallinckrodt ARD

Holdings Limited.

      50.   Debtor-Appellee Ocera Therapeutics, Inc., chartered in Delaware, is a

wholly-owned subsidiary of Debtor MAK LLC.

      51.   Debtor-Appellee Petten Holdings Inc., chartered in Delaware, is a

wholly-owned subsidiary of ST US Holdings LLC.

      52.   Debtor-Appellee SpecGx Holdings LLC, chartered in New York, is a

wholly-owned subsidiary of Debtor Mallinckrodt LLC.

      53.   Debtor-Appellee SpecGx LLC, chartered in Delaware, is a wholly-

owned subsidiary of Debtor SpecGx Holdings LLC.




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      54.   Debtor-Appellee ST Operations LLC, chartered in Delaware, is a

wholly-owned subsidiary of Debtor MEH, Inc.

      55.   Debtor-Appellee ST Shared Services LLC, chartered in Delaware, is a

wholly-owned subsidiary of Debtor Petten Holdings, Inc.

      56.   Debtor-Appellee ST US Holdings LLC, chartered in Nevada, is a

wholly-owned subsidiary of Debtor MEH, Inc.

      57.   Debtor-Appellee ST US Pool LLC, chartered in Delaware, chartered in

Delaware, is a wholly-owned subsidiary of Debtor ST US Holdings LLC.

      58.   Debtor-Appellee Stratatech Corporation, chartered in Delaware, is a

wholly-owned subsidiary of Debtor Mallinckrodt Hospital Products Inc.

      59.   Debtor-Appellee Sucampo Holdings Inc., chartered in Delaware, is a

wholly-owned subsidiary of Debtor Sucampo Pharmaceuticals, Inc.

      60.   Debtor-Appellee Sucampo Pharma Americas LLC, chartered in

Delaware, is a wholly-owned subsidiary of Debtor Sucampo Holdings Inc.

      61.   Debtor-Appellee Sucampo Pharmaceuticals, Inc., chartered in

Delaware, is a wholly-owned subsidiary of Debtor MEH, Inc.

      62.   Debtor-Appellee Therakos, Inc., chartered in Florida, is a wholly-

owned subsidiary of Debtor Mallinckrodt Hospital Products Inc.

      63.   Debtor-Appellee Vtesse LLC, chartered in Delaware, is a wholly-

owned subsidiary of Debtor Sucampo Pharmaceuticals, Inc.


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      64.   Debtor-Appellee WebsterGx Holdco LLC, chartered in New York, is a

wholly-owned subsidiary of Debtor Mallinckrodt Enterprises Holdings, Inc.




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                                INTRODUCTION

      This appeal involves an asset purchase agreement (APA) executed in 2001.

Debtors’ predecessor-in-interest (Questcor) paid $100,000 and, in return, received

the intellectual property rights to Acthar® Gel (Acthar). Under the APA, Questcor

(or its successor-in-interest) was required to make royalty payments based on future

sales of Acthar. Although those payments continue to accrue as Debtors continue to

sell Acthar, Debtors receive no ongoing or continual benefit from the seller (Sanofi’s

predecessor-in-interest); the intellectual property rights were already transferred in

full two decades ago.

      The Bankruptcy Code and applicable case law make clear that future,

contingent payments arising out of prepetition contracts are prepetition claims (i.e.,

ones that arise before the date of the debtor’s bankruptcy petition). And such claims

are dischargeable under Chapter 11. When Debtors filed for Chapter 11, they

accordingly took the view that their liability for any royalty payments would be

discharged. Some of those royalties had not yet accrued; they were contingent on

future Acthar sales. But because the claims arose under the prepetition APA, the

Bankruptcy Court held that Sanofi’s royalty payment claims were subject to

discharge. That decision was correct.

      On appeal, Sanofi argues to the contrary for three reasons. First, Sanofi

contends that the payments were not prepetition claims because its claims arise when


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Debtors sell Acthar. But that argument ignores the fact that the Bankruptcy Code

defines “claim” to include rights to payment that are “contingent” on a future

event—like selling Acthar. Third Circuit precedent similarly recognizes that where

a prepetition contract creates future contingent payment obligations, those

obligations arise prepetition—regardless of when the obligations accrue under non-

bankruptcy law. That the Third Circuit has already rejected exactly the sort of

“accrual” test Sanofi advances is the final nail.

      Second, Sanofi argues that the APA did not transfer all rights to Acthar, but

instead created a property interest that the seller retains in the property sold. OB12-

13. Sanofi did not make this retained property argument below. To the contrary,

Sanofi conceded that the royalty payment is a contractual obligation and that it had

conveyed to Debtors all of its rights in Acthar. The argument is thus waived. It is

also wrong. Sanofi relies primarily on language in the APA stating that the

intellectual property was transferred “subject to” the APA’s terms and conditions.

But those two words are not specific to the royalty payment, and a fair reading of

the APA makes clear that Sanofi did not retain any ownership interest in the

intellectual property or proceeds from it.

      Finally, Sanofi argues that the result in this case is unjust. But the Bankruptcy

Code was intended to afford debtors broad relief, by ensuring that even remote or

contingent legal obligations of the debtor can be dealt with in the bankruptcy case.


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While Sanofi complains that it will receive only a fraction of the amount owed for

its unsecured claims, that is the fate of all general unsecured creditors in Chapter 11.

The inequity would be to treat Sanofi more favorably than those similarly situated.

                          STATEMENT OF THE ISSUE

      Whether the Bankruptcy Court erred in determining that all of Debtors’

payment obligations arising out of the 2001 Asset Purchase Agreement are

prepetition claims that may be discharged under the Bankruptcy Code.

                          STATEMENT OF THE CASE

      A.       Background On The APA
      On July 27, 2001, Questcor Pharmaceuticals, Inc. (predecessor-in-interest to

Debtor Mallinckrodt Pharmaceuticals Ireland Limited (MPIL))1 and Aventis

(Sanofi’s predecessor-in-interest) executed the APA. App. 27. Under Section 2.1,

Questcor purchased from Aventis, and Aventis sold, assigned, and conveyed to

Questcor, all of Aventis’s “rights, title, and interests” relating to Acthar. These

assets consisted primarily of trademarks, know-how, regulatory filings and related

rights, and certain Acthar-related equipment, inventory, and raw materials. App. 30

(APA ¶ 2.1).




1
  MPIL is the only Debtor that is or ever has been bound by the APA; references in
this brief to “Debtors” do not concede any liability to any other Debtor.

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      In exchange, in Section 2.3, Questcor agreed to “pay to [Aventis] as full and

fair consideration for the Assets” a “Purchase Price” defined in three subparagraphs

(a) through (c) as:

      (a)    $100,000 due (at the earliest) 90 days after the APA’s Effective Date;

      (b)    $11 per vial of “finished [Acthar] Product in [Aventis’s] Inventory” and
             “a purchase price equal to [Aventis]’s standard costs” for the remaining
             inventory; and

      (c)    a “Royalty Payment” defined as “an annual royalty equal to one percent
             (1%) of all Net Sales in excess of Ten Million Dollars ($10,000,000) in
             any given calendar year” “for so long as Purchaser, any of its Affiliates
             or any of its licensees, or any of their respective successors or assigns,
             sells the Product.”
App. 31-32 (APA ¶ 2.3).

      Questcor granted Aventis “a purchase money security interest in and to the

Assets, as security solely for the performance by [Questcor] of its payment

obligations only for the portion of the Purchase Price set forth in Section 2.3(a) and

2.3(b), together with the right of [Aventis] to repossess the Assets” for nonpayment.

App. 32 (APA ¶ 2.4). That security interest does not apply to the royalty payment

in (c), and the APA does not include any similar provision describing a security

interest or other property interest granted or retained in connection with the royalty

payment.

      In 2014, Questcor became a wholly-owned subsidiary of Mallinckrodt plc and

Questcor assigned all of its rights, title, and interest, and delegated all of its



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obligations, responsibilities, and duties under the APA—including to make the

“Royalty Payment”—to Debtor MPIL. App. 56-60.

        B.    The Bankruptcy Proceedings
        On October 12, 2020, Debtors filed voluntary Chapter 11 petitions in the

United States Bankruptcy Court for the District of Delaware. D.I. 1, 2.2 On October

12, 2021, after Debtors filed the First Amended Joint Plan of Reorganization of

Mallinckrodt plc and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code

[D.I. 4508] (as may be further amended, modified, or supplemented from time to

time, the Plan), Sanofi filed a motion (the Determination Motion) seeking a

determination that either (i) the APA is non-executory and Debtors cannot discharge

royalty payments that arise post-bankruptcy or (ii) the APA is executory and (if the

Bankruptcy Court authorizes Debtors to reject the APA) Debtors can no longer sell

Acthar. App. 12-25.

        On October 20, 2021, Debtors filed an objection to Sanofi’s motion. App.

151-73. Debtors asked the Bankruptcy Court to determine that Sanofi’s claims for

royalty payments due for past or future Acthar sales under the APA were prepetition

claims subject to discharge under the Bankruptcy Code. App. 151-73. Debtors

explained that, under the APA, Sanofi was not presently conferring any right on

Debtors to sell Acthar and that Sanofi had no right to stop Debtors from selling


2
    “D.I.” refers to the docket in the main Chapter 11 Case, Case No. 20-12522 (JTD).

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Acthar based on Debtors’ breach of the APA by non-payment of royalties. Id.

Debtors also asserted that, while they believed the APA was executory due to

remaining material obligations on both sides, Sanofi’s claims for royalty payments

would be discharged regardless. App. 153, 158-66. If the APA is executory, then

Sanofi’s contract rejection damages are prepetition, unsecured, dischargeable

claims. App. 153, 158-63. If the APA is non-executory, then Sanofi’s right to

payment of royalties is still a prepetition, unsecured, dischargeable claim, because

claims under a prepetition contract—even if dependent on some future event—are

prepetition claims. App. 153, 163-66.

      On October 29, 2021, the Bankruptcy Court held a hearing to consider, among

other things, the Determination Motion. At the hearing, Sanofi argued that its

“contract claim, that royalty claim . . . arises, if at all, from post-confirmation sales

of Acthar Gel.” App. 288. Debtors argued “that obligations under a pre-petition

contract are pre-petition claims,” which “arise when the contract is signed.” App.

305-06.

      In a November 4, 2021 bench ruling, the Bankruptcy Court denied the

Determination Motion. App. 334-44. The Bankruptcy Court ruled that while the

APA is not an executory contract subject to rejection, Debtors’ breach of the APA

“only results in a prepetition unsecured claim for damages subject to discharge upon

confirmation of a plan of reorganization.” App. 336, 334-44.


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      The Bankruptcy Court recognized that the Third Circuit had addressed this

issue and had concluded that “‘[i]n cases where the non-bankrupt party [h]as fully

performed it makes no sense to talk about assumption or rejection. At that point a

liability exists for the debtor, a simple claim held by the non-bankrupt against the

estate . . . .’” App. 338-39 (quoting In re Columbia Gas Sys. Inc., 50 F.3d 233, 239

(3d Cir. 1995)). In particular, the Bankruptcy Court found the situation here similar

to that in In re Waste Systems International, Inc., 280 B.R. 824 (Bankr. D. Del.

2002), where, “as here, there are no post-petition transactions,” and “[t]he only

transaction . . . occurred prepetition.” App. 339. The Bankruptcy Court accordingly

rejected Sanofi’s argument, concluding that “[w]hile a right to payment under the

APA may accrue post-petition, any claims arising from the APA are prepetition

general unsecured claims.” Id. The Bankruptcy Court also recognized that “Sanofi

did not retain any type of ownership interest in Acthar,” because “the contract at

issue is not a license, but rather was an outright sale of Acthar and all related assets

that was consummated prepetition.” App. 339-40. The Bankruptcy Court thus held

that the prepetition contractual claims “are subject to discharge under the debtor’s

proposed plan.” App. 340.

      On November 8, 2021, a written order followed. App. 1-2. On November 19,

2021, Sanofi appealed. App. 476-84. And, on February 3, 2022, the Bankruptcy

Court issuing its opinion on confirmation, overruling all objections and finding that


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the Plan satisfies all the requirements of the Bankruptcy Code, except as to one Plan

provision not relevant to this appeal. D.I. 6347; see D.I. 6378 (revised opinion).

The court invited Debtors to submit a revised confirmation order, which Debtors are

currently preparing. Id.

                       SUMMARY OF THE ARGUMENT

      The Bankruptcy Code discharges prepetition claims against chapter 11

debtors, with very limited exceptions. And it defines “claim” to include not just

those obligations that are currently due, but also those that are “contingent” on future

events. The Bankruptcy Court correctly held that the royalty payments were

dischargeable prepetition claims. Debtors’ obligation to pay royalties under the

APA was contingent on future Acthar sales. But that contingent obligation came

into existence when the APA was signed over 20 years ago. The Bankruptcy Code

and applicable case law make clear that Sanofi’s claims are prepetition claims,

regardless of when they may accrue.

      Sanofi makes three arguments to the contrary, but each fails. First, Sanofi

argues that its claims for royalty payments arise when the obligations become due,

rather than when the obligations were created. The Bankruptcy Code forecloses that

argument. And the Third Circuit has rejected the exact “accrual” test Sanofi

advances. The law is clear that contingent payments created under a prepetition

contract are prepetition claims.


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      Second, Sanofi argues that royalty payments under the APA run with or attach

to the assets sold in the APA, so that Sanofi retains a property interest in that

intellectual property. That is contrary to Sanofi’s concession in the Bankruptcy

Court that the APA transferred all intellectual property rights to Acthar, and it is

contrary to Sanofi’s concession that it held only a contractual claim. Only after the

Bankruptcy Court rejected that theory and held that the APA was a sales contract

(not a license) did Sanofi reverse course. Sanofi’s new and novel argument that the

APA is a sales contract but that Sanofi nevertheless retains certain property rights to

Acthar is both waived and wrong.

      Finally, Sanofi appeals to public policy. Sanofi argues that Debtors cannot

reject executory contracts while continuing to enjoy their benefits, so the same

should be true for non-executory contracts. But the difference is that under a non-

executory contract, the debtor is by definition no longer receiving any material

benefit; it instead has only a liability. The relief granted is entirely consistent with

the purpose of Chapter 11: to permit debtors to discharge prepetition liabilities.




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                                  ARGUMENT

I.    THE BANKRUPTCY COURT CORRECTLY HELD THAT SANOFI’S
      RIGHT TO ROYALTY PAYMENTS UNDER THE APA
      CONSTITUTED A DISCHARGEABLE PREPETITION CLAIM
      The Bankruptcy Court correctly held that Sanofi’s right to royalty payments

under the APA were dischargeable prepetition claims. That conclusion follows from

the plain language of the Bankruptcy Code, as well as the relevant case law.

      Section 101 of the Bankruptcy Code defines a “claim” as a “right to payment,

whether or not such right is reduced to judgment, liquidated, unliquidated, fixed,

contingent, matured, unmatured, disputed, undisputed, legal, equitable, secured, or

unsecured.” 11 U.S.C. § 101(5)(A) (emphasis added). The legislative history makes

clear that Congress adopted the “broadest possible definition” of “claim” to

“permit[] the broadest possible relief in the bankruptcy court” by “contemplat[ing]

that all legal obligations of the debtor, no matter how remote or contingent, will be

able to be dealt with in the bankruptcy case.” H.R. Rep. No. 95-595, at 309 (1977);

see In re Grossman’s, 607 F.3d 114, 121 (3d Cir. 2010) (en banc) (relying on this

legislative history). And Section 1141 provides that “the confirmation of a plan

discharges the debtor from any [liability on a claim] that arose before the date of

such confirmation.” Id. § 1141(d)(1)(A).

      The APA contained three payment obligations: (a) $100,000 cash; (b) cash

for finished product that Sanofi held in inventory at the time; and (c) an “annual



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royalty equal to one percent (1%) of all Net Sales [of Acthar] in excess of”

$10,000,000. App. 31-32 (APA ¶ 2.3). The obligations in Section 2.3(a) and (b)

were paid in full many years before Debtors filed for Chapter 11, and are not at issue

here.    Sanofi’s right to receive the royalty payments in Section 2.3(c) are

“contingent” claims under Section 101(5)(A), in that they come due only upon

certain future events—namely, Debtors’ making over $10 million in Acthar sales in

a given year. These contingent payment rights came into existence when the APA

was signed. They are accordingly prepetition claims arising under a prepetition

contract, which are discharged under Section 1141(d)(1)(A).

        Well-settled Third Circuit law compels that conclusion. Just last year, in In

re Weinstein Co. Holdings LLC, the Third Circuit articulated the rule that “a non-

executory contract where only the debtor has material obligations left to perform . . .

is a liability of the estate,” and the counterparty “only ha[s] an unsecured claim

against the debtor, on which it can typically expect to recover merely cents on the

dollar.” 997 F.3d 497, 505-06 (3d Cir. 2021). The film production agreement at

issue provided that the debtor would pay a film producer (Cohen) a fixed initial

payment, as well as future payments “equal to roughly 5% of the Picture’s net profits

. . . [i]f the Picture is produced with [Cohen] as the producer thereof” and other

conditions were met. Id. at 502. A media company sought to purchase the

agreement from the debtor under 11 U.S.C. § 363, and the court considered whether


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the contract was executory (in which case the debtor or buyer would need to cure all

existing defaults) or non-executory (in which case cure is generally not required).

In the latter context, the court made clear that the contract “is only a liability for the

estate” and is thus subject to discharge. In re Weinstein, 997 F.3d at 504-505.3

      In In re Columbia Gas Systems Inc., the Third Circuit similarly explained that

when “the nonbankrupt party” to a contract has no material obligations left, “only a

liability exists for the debtor,” and “the nonbankrupt party is ‘relegated to the

position of a general creditor of the bankrupt estate.’” 50 F.3d 233, 239-40 (3d Cir.

1995) (quoting In re Munple, Ltd., 868 F.2d 1129, 1130 (9th Cir. 1989)). In that

case, the relevant agreement required the debtor to make two payments, one of which

had already been paid out and one of which had not yet come due as of the petition

date. Id. at 240. Because the nonbankrupt parties had no material obligations under

the agreement, the court held that they had “a general unsecured claim” with the

“lowest payment priority.” Id. at 240. To hold otherwise, the Third Circuit noted,

would “‘offend the general policy of the bankruptcy laws’” by “elevating the




3
   That decision built on In re Grossman’s, discussed further below, which set out
the controlling principle that “a ‘claim’ arises when an individual is exposed pre-
petition to a product or other conduct giving rise to an injury, which underlies a ‘right
to payment’ under the Bankruptcy Code.” 607 F.3d at 125 (claim asserted arose in
1977 when the plaintiff purchased asbestos-containing products from debtor, even
though the asbestos-related disease did not manifest until 2006).

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nonbankrupt’s claim” above general unsecured claims. Id. at 239 n.9 (quoting H.R.

Rep. No. 95-595, at 186 (1977)).

      Likewise, in In re Waste Systems International, Inc., the bankruptcy court

concluded that postpetition royalty payments made pursuant to a prepetition

agreement were dischargeable general unsecured claims, as “[t]he obligation to

make the royalty payments arose when the [agreement] was executed pre-petition.”

280 B.R. 824, 827 (Bankr. D. Del. 2002). The relevant agreement provided that the

debtor “shall pay . . . a royalty of One Dollar ($1.00) per ton for all waste delivered.”

Id. at 825. The creditor argued that the royalty payments were “post-petition

administrative claims because the payments arise only after” the debtor delivers

waste. Id. at 827 (emphasis added). The court rejected that argument, holding that

“[t]he fact that the pre-petition obligation is dependent upon the occurrence of a post-

petition event does not make the obligation an administrative claim.” Id. at 828

(emphasis added). Instead, “the obligation is a contingent claim” arising prepetition

and, under the Bankruptcy Code, “[w]hether the event occurs or not determines the

amount of the contingent claim, not its priority.” Id. at 828.

      Under these cases, it is clear that Sanofi has a prepetition claim against

Debtors for payment, which is dischargeable under the Plan. The 2001 execution of

a written contract between Questcor and Aventis created a contingent claim for the

“royalty” component of the APA’s purchase price. Thus, the Bankruptcy Court


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correctly concluded that, “[w]hile a right to payment under the APA may accrue

post-petition, any claims arising from the APA are prepetition general unsecured

claims” and “are subject to discharge under the debtor’s proposed plan.” App. 339-

40 (emphasis added).

II.      SANOFI’S ARGUMENTS TO THE CONTRARY FAIL
         Sanofi disagrees with the Bankruptcy Court for three reasons. First, Sanofi

argues that the royalty payments arise when the obligations become due (i.e., each

year that Debtors make over $10 million in Acthar sales), rather than when the

obligations were created (i.e., when the parties entered into the APA).           That

argument is squarely foreclosed by the language of the Bankruptcy Code and binding

precedent. Second, Sanofi argues that royalty payments under the APA “run[] with”

or “attach[]” to the assets sold in that agreement. OB13. That argument is raised

for the first time on appeal and is thus waived. It is also wrong, as the APA makes

clear that Sanofi did not retain any ownership interest in the intellectual property or

proceeds from it. Finally, Sanofi argues that public policy concerns weigh against

permitting Debtors to discharge the royalty payments—but the Chapter 11 process

was created to permit debtors to discharge unsecured prepetition claims just like

these.




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      A.     Payments Arising Under Prepetition Contracts Are Prepetition
             Claims
      Sanofi argues that APA royalty payments resulting from post-confirmation

sales “cannot be said to have arisen pre-Petition Date,” because “[i]t is the Debtors’

affirmative act of selling Acthar Gel that gives rise to the Royalty.” OB16-17. That

argument is fundamentally at odds with the plain language of the Bankruptcy Code

and applicable case law.

      Sanofi fails to grapple with the statutory scheme. Sanofi argues that 11 U.S.C.

§ 1141 “provides that only claims that arise prior to confirmation may be

discharged.” OB10. But Sanofi never cites or discusses the statutory definition of

“claim” in Section 101(5), which includes “contingent” claims.            11 U.S.C.

§ 101(5)(A). The word “contingent” does not appear once in Sanofi’s brief, and

Sanofi fails to explain why the royalty payments are not contingent claims arising

under the APA.

      Sanofi’s attempts to distinguish applicable precedent fare no better. Sanofi

argues that the Third Circuit “made clear” in In re Weinstein Co. that future

obligations arising under a non-executory contract may not be treated as unsecured

claims. OB25. Not so. Sanofi’s sole support is the court’s statement that a purchaser

of a “non-executory contract” under 11 U.S.C. § 363 “must satisfy post-closing

obligations.” 997 F.3d at 501. But the court’s articulation of the rules applicable to

Section 363 sales is irrelevant here. As the court explained, if no buyer decides


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voluntarily to assume liability on the non-executory contract by acquiring it, “the

nonbankrupt counterparty . . . only ha[s] an unsecured claim against the debtor, on

which it can typically expect to recover merely cents on the dollar.” Id. at 506.

      Sanofi also argues that In re Columbia Gas is inapplicable because that case

involved “a fixed obligation to pay an amount certain by a specified date in the

future,” while Debtors here do not have any obligation to make future payments

unless they sell Acthar. OB19. That is a distinction without a difference: Sanofi is

simply pointing out that the claims in In re Columbia Gas were “unmatured,” rather

than “contingent.”    But both are “claims” subject to discharge.         11 U.S.C.

§ 101(5)(A).

      Sanofi purports to distinguish In re Waste Systems International as applying

only to administrative expense claims. OB21. Sanofi concedes (at 22) that the

bankruptcy court concluded that “any claims arising from [the royalty agreement]

are general unsecured claims” because the royalty agreement was “a pre-petition

non-executory contract.” 280 B.R. at 827. But Sanofi contends that the court’s

analysis of when “future, post-confirmation claims” arise was “dicta.” OB22. In

fact, the first step of the court’s analysis asked whether there was “a post-petition

transaction,” so the court was required to decide when the claims under the royalty

agreement arose. 280 B.R. at 827. Like Sanofi, the claimant argued that the royalty

payments “ar[o]se only after” the affirmative act triggering the royalty payment


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occurred. Id. (emphasis added). And the court rejected that argument, concluding

that the royalty payment obligation was a “contingent claim.” Id. at 828. Sanofi

offers no explanation for why the same is not true here. Sanofi also tries (at 21-22)

to distinguish the case as involving a “transfer[ of] real property (on which was

situated a waste treatment facility)” rather than “a sale of an asset” but, again, Sanofi

fails to explain why that difference matters. It does not.

      Sanofi argues (at 18-19) that the Third Circuit’s decisions in In re

Grossman’s, 607 F.3d 114 (3d Cir. 2010) (en banc) and Wright v. Owens Corning,

679 F.3d 101 (3d Cir. 2012) support its position. The opposite is true. In In re

Grossman’s, the Third Circuit overruled an earlier decision which held that a claim

arose “when the underlying state law cause of action accrued.” 607 F.3d at 125

(overruling Matter of M. Frenville Co., 744 F.2d 332 (3d Cir. 1984)). Emphasizing

that the definition of “claim” in Section 101(5) also included “contingent,”

“unmatured,” and “unliquidated” claims, the Third Circuit rejected Frenville’s

“accrual” test on the grounds that it “does not account for the fact that a ‘claim’ can

exist under the Code before a right to payment exists under state law.” Id. at 121

(emphasis added). Instead, the court held that “a ‘claim’ arises when an individual

is exposed pre-petition to a product or other conduct giving rise to an injury, which

underlies a ‘right to payment’ under the Bankruptcy Code”—even if the injury does

not occur until much later. Id. at 125; see also Owens Corning, 679 F.3d 101, 107


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(3d Cir. 2012) (holding that “a claim arises when an individual is exposed pre-

confirmation to a product or other conduct giving rise to an injury that underlies a

‘right to payment’ under the Code” and concluding that plaintiff’s postpetition, pre-

confirmation exposure to the debtors’ asbestos-related products was a claim).

      Sanofi repeatedly argues (at 15, 18, 19, 23) that In re Grossman’s and Owens

Corning changed the legal landscape. True, but not in the way Sanofi suggests.

Both decisions represent a significant expansion of the Third Circuit’s interpretation

of “claim” under Section 101(5)—and, by extension, an expansion of the liabilities

that can be discharged in bankruptcy. Sanofi’s reliance on those cases is ironic for

that reason. But also because Sanofi’s argument (at 19) that a claim arises only when

Debtors sell Acthar essentially asks this Court to revive the overruled Frenville test.

Just as In re Grossman’s and Owens Corning instruct courts to consider when the

claimant came into contact with the debtor (rather than when the injury manifested),

In re Weinstein, In re Columbia Gas, and In re Waste Systems International instruct

courts to consider when an obligation giving rise to a payment arose (rather than

when the payment comes due).

      Sanofi further argues that “as a non-executory contract, the APA should be

deemed to ‘ride through’ confirmation unaffected.” OB24-25 (quoting In re Hays

& Co. v. Merrill Lynch, Pierce, Fenner & Smth, Inc., 885 F.2d 1149 (3d Cir. 1989)).

But In re Hays is inapplicable. It dealt with the narrow issue of whether a bankruptcy


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trustee was bound during the bankruptcy case by an arbitration clause in a

prepetition, non-executory contract with a creditor it was trying to sue, not whether

rights to payment (i.e., claims) under a debtor’s prepetition, non-executory contracts

are discharged after bankruptcy. The other cases Sanofi cites are either inapposite4

or fully consistent with In re Weinstein, In re Columbia Gas, and In re Waste Systems

International.5

      B.     Debtors’ Ownership Of Acthar Is Not Subject To Royalty
             Payments
      Sanofi argues that the APA created “a property interest that the seller retains

in the property sold” and that “the Royalty is an obligation that attached to and runs

with the property sold.” OB12-13. That argument is waived and wrong.

      In the Bankruptcy Court, Sanofi argued that Debtors could continue selling

Acthar only if they continued to pay the royalty, i.e., that Debtors possessed only a

license to sell Acthar that they would be forced to surrender if Debtors failed to pay



4
   See, e.g., In re JZ L.L.C., 371 B.R. 412, 425 (B.A.P. 9th Cir. 2007) (unscheduled
executory contract rode through bankruptcy); In re Surfside Resort & Suits, Inc., 344
B.R. 179, 192 (Bankr. M.D. Fla. 2006) (bankruptcy did not release non-debtor
counterparty from preexisting duty to pay claim); In re Access Beyond Techs, Inc.,
237 B.R. 32, 41 (Bankr. D. Del. 1991) (executory contract must be assumed before
it can be sold).
5
   See, e.g., Stewart Foods, 64 F.3d 141, 145 (4th Cir. 1995) (“[R]egardless of the
nature of the contract, if at the time of the bankruptcy filing the debtor has an
obligation under the contract to pay money to the non-debtor party, that obligation
is handled as a pre-petition claim in the bankruptcy proceedings”).


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the royalty. See App. 20-21, 189. The Bankruptcy Court rejected that argument,

concluding that “Sanofi did not retain any type of ownership interest in Acthar,”

because “the contract at issue is not a license, but rather was an outright sale of

Acthar and all related assets that was consummated prepetition.” App. 339-40. That

conclusion was correct.6 And on appeal, Sanofi appears to accept that the APA is a

sales contract rather than a license.7

      Instead, Sanofi changes course and argues that the intellectual property was

sold (not licensed) but that the royalty obligation “attached to” or “runs with” the

transferred intellectual property assets and Sanofi therefore retains a property

interest in those assets. OB12-13. Sanofi forfeited that argument by failing to raise

it below. See In re Kaiser Grp. Int’l Inc., 399 F.3d 558, 565 (3d Cir. 2005) (“[W]hen

a party fails to raise an issue in the bankruptcy court, the issue is waived and may

not be considered by the district court on appeal.”).



6
   Section 2.1 provides for the complete, absolute transfer and conveyance of the
relevant assets. If the parties had intended to make the royalty payments a condition
of Debtors’ right to exploit Acthar intellectual property rights like in a license, that
would have been memorialized in an express and unambiguous way in the APA.
For example, the APA could have (but did not) contemplate termination events or
rights. To the contrary, the APA identifies the sole and discrete circumstance under
which Sanofi may retain any right in or to any of the transferred assets: a purchase
money security interest granted to secure payment of the first two components of the
purchase price, the $100,000 cash and the payment for finished product inventory.
App. 32 (APA ¶ 2.4).
7
  Sanofi does cite In re Monument Record Corp., which relied on a license theory
and is therefore distinguishable. See 61 B.R. 866, 868-69 (Bankr. M.D. Tenn. 1986).

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      But Sanofi did more than just fail to raise the argument. Sanofi repeatedly

conceded that it did not retain a property interest in Acthar under the APA. Counsel

for Sanofi acknowledged that “the purchase and sale of the ability to sell Acthar Gel

. . . happened 20 years ago” and “[t]here is no dispute as to that portion of the” APA.

App. 285; see App. 284 (describing the “two components” of the APA as (1) “the

sale of th[e rights to Acthar], in exchange for a set of consideration” and (2) “an

ongoing professional royalty”). At several points, Sanofi’s counsel explicitly stated

that its claim was contractual in nature. App. 288 (referring to Sanofi’s “royalty

claim” as a “contract claim”), 316 (referring to Sanofi’s “contract claim[] relating to

the post-confirmation sale of Acthar”), 317 (referring to “this contract claim”). And

Sanofi’s arguments below and on appeal about whether royalty payment obligations

arise pre- or postpetition are premised on its royalty claims being contractual, rather

than stemming from some retained property interest in Acthar. After all, bankruptcy

would not impair any property rights Sanofi retained in the intellectual property, so

the timing of the obligations would not matter. The Court should not permit Sanofi

to press a newfound property right on appeal.

      In any event, Sanofi’s new argument is wrong. Section 2.1 contemplates the

complete, absolute transfer and conveyance of the relevant assets. In arguing to the

contrary, Sanofi relies primarily on the two words “subject to”—namely, the Acthar

rights were transferred “‘subject to’ the other terms and conditions of the APA”


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which, according to Sanofi, “necessarily includes the annual Royalty.” OB13.

Those two words cannot withstand the strain Sanofi puts on them. As Sanofi

concedes, the “subject to” language in Section 2.1 (Sale of Assets) has no particular

connection to the royalty payment in subparagraph (c) of Section 2.3 (Purchase

Price). Section 2.3(c) is simply one of many terms and conditions. And to the extent

Sanofi argues that the “subject to” language created a property interest in every term

and condition in the APA, that interpretation would produce absurd results. Instead,

the commonplace reading of the phrase “subject to” is that it delineates priorities

among contract terms where they may otherwise conflict with one another. (For

example, the immediate grant of all rights in equipment, which would include the

right to possession, in Section 2.1 of the APA conflicts with the more specific

provisions regarding the transition of manufacturing and disposition of the

equipment in Article 6 of the APA. In that very limited regard, Article 6 would

trump Section 2.1.) No such conflict exists between Section 2.1 and Section 2.3(c).

      More to the point, it is clear that Sanofi did not believe the “terms and

conditions” in Section 2.3 gave rise to a property interest by their own force: Sanofi

separately negotiated and obtained a property interest for the payment obligations in

Section 2.3(a) and (b), which Sanofi lost when those obligations were satisfied years

ago. Section 2.4 creates a security interest in the transferred assets “as security solely

for the performance by Purchaser of its payment obligations only for the portion of


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the Purchase Price set forth in Sections 2.3(a) and 2.3(b).” App. 32. If Sanofi were

correct about the “subject to” language in Section 2.1, Section 2.4 would not have

been necessary. That the APA expressly gives Sanofi a property interest in the

performance of the payment obligations in Section 2.3(a) and (b)—but not the

royalty payment obligation in Section 2.3(c)—is unmistakable evidence that the

parties did not intend to create a property right in the performance of that royalty

payment obligation.8

      Sanofi tries to argue for a presumption that royalties create property interests,

citing precedent explaining that royalties “in the oil and gas industry” reflect “‘an

interest in real property regarded as a covenant running with the land.’” OB12 n.29

(quoting In re Foothills Texas, Inc., 476 B.R. 143, 147 (Bankr. D. Del. 2012)). But

that industry-specific rule regarding real property is inapplicable here; parties’

expectations are not the same in the intellectual property context, where royalties

generally do not create any property interests. See, e.g., In re Particle Drilling

Techs., No. 09-33744, 2009 WL 2382030, at *3 (Bankr. S.D. Tex. July 29, 2009) (in

intellectual property context, “a royalty interest. . . cannot be considered a covenant




8
  If the APA were at all ambiguous on this score, extrinsic evidence could have been
introduced to resolve the ambiguity. But because Sanofi failed to raise this argument
below, the time for such an evidentiary record has long since passed.

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that runs with the land” and instead “‘is consideration for the sale of the [intellectual

property] and subject to the law of contracts’” (citation omitted)).

      Sanofi also cites a provision in the APA that permits assignment only if the

assignee assumes responsibility for the royalty payment, which Sanofi argues

“makes clear that the Royalty is an obligation that was intended to stay with the

intellectual property.” OB13. That provision does not support Sanofi’s reading of

the APA either. As previously discussed, the APA, including Section 7.6, does not

contain any restrictions on conveyance of the Acthar intellectual property by

Debtors. Section 7.6 addresses only the assignment of each party’s “rights and

obligations hereunder”—i.e., under the APA. App. 44 (APA ¶ 7.6). As Debtors

had obtained ownership of Acthar in a “moment in time” transaction, it follows that

the APA’s assignment clause applies only to still-pending rights and obligations left

behind under the APA after such property transfer. As Sanofi has strenuously argued

throughout this dispute, the only material obligation left to be performed is Debtors’

contractual obligation to pay royalties. See App. 284-85, 288, 316, 317. For the

reasons discussed, that obligation arose prepetition and is subject to discharge in

bankruptcy.

      C.      Policy Considerations Favor Discharge Of Prepetition Claims
      With neither applicable law nor the language of the APA on its side, Sanofi

turns to unpersuasive policy arguments. It argues (at 26) that “[i]t is . . . the fact that



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the non-debtor counterparty has unperformed material obligations remaining on the

contract, that makes it inherently fair for an executory contract to be rejected, and

explains why . . . non-executory contracts may not” be rejected. Far from an “unfair

windfall” (at 27), the relief the Bankruptcy Court granted Debtors is precisely what

the Bankruptcy Code was intended to provide.

      The reason executory and non-executory contracts are treated differently is

that in the latter context “where the counterparty performed but the debtor has not,”

the contract “is only a liability for the estate.” In re Weinstein, 997 F.3d at 504-505

(emphasis added). A nondebtor counterparty (like Sanofi) that has fully performed

and holds only a contract claim against the debtor is in the same position as any other

general unsecured creditor. Thus, to treat such a contract “as an executory contract

risks inadvertent assumption, for the debtor would effectively be agreeing to pay the

liability in full when the counterparty should instead pursue the claim against the

estate like other (typically unsecured) creditors.” Id. (internal citation omitted).

      Sanofi’s argument boils down to a complaint about the scope of dischargeable

claims under the Bankruptcy Code. The legislative history of Section 101(5) makes

clear that Congress adopted the “broadest possible definition” of “claim” to

“permit[] the broadest possible relief in the bankruptcy court” by “contemplat[ing]

that all legal obligations of the debtor, no matter how remote or contingent, will be

able to be dealt with in the bankruptcy case.” H.R. Rep. No. 95-595, at 309 (1977).


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That broad relief can be a “[bitter] pill . . . to swallow” for contract counterparties

who do business with the debtor, “but bankruptcy inevitably creates harsh results for

some players.” In re Weinstein Co., 997 F.3d at 511. And the rule that Sanofi

advocates would produce a more troubling inequity: it would preference Sanofi’s

claims over those of other similarly situated creditors.




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                                 CONCLUSION

      For the foregoing reasons, this Court should affirm.


February 24, 2022                        Respectfully submitted,
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